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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


YELLOWHAMMER FUND, on             )
behalf of itself and its          )
clients,                          )
                                  )
     Plaintiff,                   )
                                  )          CIVIL ACTION NO.
     v.                           )            2:23cv450-MHT
                                  )
ATTORNEY GENERAL OF               )
ALABAMA STEVE MARSHALL,           )
in his official capacity,         )
                                  )
     Defendant.                   )


WEST ALABAMA WOMEN’S              )
CENTER, on behalf of              )
themselves and their              )
staff; et al.,                    )
                                  )
     Plaintiffs,                  )
                                  )          CIVIL ACTION NO.
     v.                           )            2:23cv451-MHT
                                  )
STEVE MARSHALL, in his            )
official capacity as              )
Alabama Attorney General,         )
                                  )
     Defendant.                   )


                               NOTICE

    The court has received an oral inquiry as to when
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oral argument will be reset.               The reason the court

continued the oral argument was that it needed more

time to prepare and become informed as to the parties’

arguments, in order to ensure that the oral argument

would be as productive as possible.                While the court

has not yet decided when to reset the oral argument,

the court will inform the parties of a new date as soon

as possible.

    DONE, this the 31st day of October, 2023.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




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